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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OFWASHINGTON

Eric Watson d/b/a Jookrs Hulk
Hauling & Salvage Services
Sarah Watson d/b/a Jookrs Hulk
Hauling & Salvage Services

Plaintiffs,

VS.

Mike Roff d/b/a Latitude Marine Services
KJ Roff d/b/a Latitude Marine Services
Chrisi Dite d/b/a Latitude Marine Services

Nem” mee” Nee Nema Nee” See ee Nee” eee” See” Meee ee Nee Sere”

Service writer. Bob Corelius d/b/a/ Latitude)
Marine Services service writer. )
)

Defendants. )

)

CASE NO. 21-cv-1622-RSM

COMPLAINT FOR A CIVIL CASE
ALLEGING BREACH OF
CONTRACT, THEFT, FRAUD,
EXTORTION, HATE CRIME,
BAD FAITH

(28 U.S.C. ss 1332, Diversity of
Citizenship)

Request Expedited
Jury Trial: YES

I. THE PARTIES TO THIS COMPLAINT

A. Plaintiffs

Eric Watson and Sarah Waison
7807 Kapowsin Hwy E
Graham, WA 98338

Pierce County

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Pro Se 4 2016

B. Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if
needed.

 

 

 

Defendant No. 1
Name Mike Roff
Job or Title (ifknown) _atitude Marine Service (CEO)
Street Address 18578 Mcglinn Istand in
City and County La Conner, Skagit

 

State and Zip Code WA 98257

 

Telephone Number 360-466-4905

 

 

 

 

Defendant No. 2
Name KJ Roff
Job or Title (ifknown) Latitude Marine Service (President)
Street Address 18578 Mcglinn Island Ln
City and County La Conner, Skagit

 

State and Zip Code Wa 98257

 

Telephone Number 360-466-4905

 

Defendant No. 3

 

 

 

Name Chrisi Dite

Job or Title (ifknown) attiude Marine Service (service writer)
Street Address 18578 Mcglinn Island Ln

City and County La Conner, Skagit -

 

State and Zip Code WA 98257
Telephone Number 360-466-4905

 

COMPLAINT FOR A CIVIL CASE ALLEGING BREACH
OF CONTRACT - 2

 
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Defendant No. 4

 

 

 

Name Bob Cornelius

Job ot Title (if known) Latitude Marine Service (Service writer)
Street Address 18578 Mcglinn Island Ln

City and County La Conner, Skagit

 

State and Zip Code WA 98257

 

Telephone Number 360-466-4905

 

lil. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under
the United States Constitution or federal laws or treaties is a federal question case. Under 28
U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and
the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

OO Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States

Constitution that are at issue in this case.

COMPLAINT FOR A CIVIL CASE ALLEGING BREACH
OF CONTRACT - 3

 
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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1, The Plaintiff(s)
a. Ifthe plaintiff is an individual.

The plaintiff (name) _ , is a citizen of the

State of (name)

b. Ifthe plaintiff is a corporation.
The plaintiff, (name) EFic Watson

Washington

Washington

the laws of the State of (name) _

___, is incorporated under

 

the laws of the State of (name) _, is incorporated under

 

_, and has its principal

Washington

place of business in the State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page providing
the same information for each additional plaintiff)
2. The Defendant(s)
a. Ifthe defendant is an individual.
The defendant, (name) , is a citizen of the
State of (name) _ _ ____.. Orisa citizen of
(foreign nation) —

b. Ifthe defendant is a corporation.

Mike Roff |
Washington
Washington

The defendant, (name) , is incorporated under

the laws of the State of (name) , and has its principal

 

place of business in the State of (name)

Or is incorporated under the laws of (foreign nation)

ee i ee —

and. has its principal place of business in (name) _

(If more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

COMPLAINT FOR A CIVIL CASE ALLEGING BREACH
OF CONTRACT - 4

 
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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual.

The plaintiff (ame) , is a citizen of the

 

State of (name)

b. Ifthe plaintiff is a corporation.

Sarah Watson

 

 

The plaintiff, (name) , is incorporated under
the laws of the State of (name) ~ Washington ____, is incorporated under
the laws of the State of (name) _ Washington . and has its principal

 

Washington

place of business in the State of (zame) ** ™S”
(ff more than one plaintiff is named in the complaint, attach an additional page providing
the same information for each additional plaintiff.)
2. The Defendant(s)

a. Ifthe defendant is an individual.

 

The defendant, (name) , is a citizen of the
State of (name) _ _ _ _ . Oris a citizen of
(foreign nation) __ _ _ oe

b. Ifthe defendant is a corporation.

The defendant, (name) Kj Roff _, is incorporated under

Washington

Washington

the laws of the State of (name) “* "S'S , and has its principal
place of business in the State of (name) —

Or is incorporated under the laws of (foreign nation)

 

and has its principal place of business in (name)

(if more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

COMPLAINT FOR A CIVIL CASE ALLEGING BREACH
OF CONTRACT - 4

 
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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1, The Plaintiff(s)
a. Ifthe plaintiff is an individual.

The plaintiff (name) _ , is a citizen of the

State of (name)

 

 

b. Ifthe plaintiff is a corporation.

The plaintiff, (mame) ___, is incorporated under

the laws of the State of (name) _ , is incorporated under

the laws of the State of (name) , and has its principal
place of business in the State of (name)

(f more than one plaintiff is named in the complaint, attach an additional page providing
the same information for each additional plaintiff.)

2. The Defendant(s)
a. If the defendant is an individual.
The defendant, (mame) | , is a citizen of the
State of (name) - __, Oris a citizen of
(foreign nation)

b. Ifthe defendant is a corporation.

The defendant, (namey CNrisi Dite
Washington |
Washington

place of business in the State of (zame) _

, is incorporated under

 

the laws of the State of (name) , and has its principal

 

Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name) _

(if more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

COMPLAINT FOR A CIVIL CASE ALLEGING BREACH
OF CONTRACT - 4

 
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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. Ifthe plaintiff is an individual.

The plaintiff (name) , is a citizen of the

State of (mame) a a
b. Ifthe plaintiff is a corporation.
The plaintiff, (name) , is incorporated under

the laws of the State of (name) , is incorporated under
the laws of the State of (name) , and has its principal
place of business in the State of (name)

(if more than one plaintiff is named in the complaint, attach an additional page providing
the same information for each additional plaintiff.)
2. The Defendant(s)
a. Ifthe defendant is an individual.
The defendant, (name) , is a citizen of the
State of (name) __. Orisa citizen of
(foreign nation)
b, Ifthe defendant is a corporation.
The defendant, (xame) Bob Cornelius

, is incorporated under

 

the laws of the State of (name) Wash ngton , and has its principal

Washington

place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name) _

(if more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

COMPLAINT FOR A CIVIL CASE ALLEGING BREACH
OF CONTRACT -4

 
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Complaint for a civil case alleging breach
of contract -1

The plaintiff has complied with the Plaintiff's obligations and the contract.
REASON FOR THIS COMPLAINT
Plaintiffs Eric Watson and Sarah Watson, a married couple who own a small business,
Jookrs Hulk Hauling & Salvage Services. They bought a rare one of a kind, 1962 Chris
Craft 50 foot Constellation. It has 10 holes in the bottom and made arraignments with
Associated Boat Transport, to move the boat, for covered storage at Latitude Marie
Services. Verbal Agreement was created by Jay Mckittrick, the manager of Latitude
Marine Services at that time. No Deposit, no insurance and the rent paid for monthly dry
storage would be required. When Plaintiffs would like to start work was after a Survey
was completed after September 18", 2020. The boat was delivered and readied to work
on in dry storage. The Breach of Contract was deliberate and intentionally done as a Hate
Crime by Owner Mike Roff, President KJ Roff, Bob Cornelius, Jay Mckittrick, Chrisi
Dite. Each taking equal participation in this by causing, creating, assisting, each other in
their duty to attempt to extort the Plaintiff's Eric and Sarah Watson their money without
any factual reason and use lies to create an illusion. The illusion created delays in which
to use up Plaintiff's prepaid rent money for covered storage. Mike Roff, the owner of
Latitude Marine Services stepped further in this matter January of 2021 to remove the
boat from dry/covered storage and put it outside where nature has caused more damage to
the boat by rain entering the holes in the top of the boat saturating the electrical panels
and other unseen damages. Bob Cornelius, a manager of Latitude Marine Services
refused to allow Plaintiff Sarah Watson to go onto the boat to attempt to cover the boat

with a 40 foot by 60 foot tarp to protect the boat. Plaintiff Sarah Watson called the Law
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Enforcement for assistance and they refused to help. They claimed it was a civil issue and
they can not get involved. Plaintiff Sarah Watson was only allowed to take photos of the
boat and told to leave. Is this the way to treat a paying customer with intent to protect
their investment. Mike Roff attempted to extort $10,000.00 from the Plaintiffs in writing
by demanding $10,000.00 deposit for crushing the boat at his convenience, Mike Roff
further hiked up the price of repair to create an unreasonable cost to the Plaintiffs so

no work could be afforded. Mike Roff then agreed if Plaintiff purchased the needed
materials for he would discount the cost. When Plaintiffs purchased the materials and
notified Mike Roff and KJ Roff they wanted to bring the materials up, Mike Roff replied
do not bring the materials to this yard or they will be donated for another cause. Then
later started on the eviction threats and attempts to auction the boat at a public auction.
Plaintiffs Eric Watson and Sarah Watson was forced to enter into a written rental
agreement on November 17", 2020. Plaintiffs stated there was already a verbal
agreement as the boat had been there since June 12%, 2020. KJ Roff stated if we did not
sign the agreement eviction process would start. In fear, Plaintiffs signed the contract.
During this both Plaintiffs asked for work to be done on the boat. KJ Roff was asked for
an estimate to have the windows sealed. KJ Roff stated $3000.00 would cover that. Chrisi
Dite stated, while we were prepaying for covered rent, you can not prepay the estimate as
there is a hold on the boat and no work (emai!)can be done on the boat. Plantiffs asked
the reason and Chrisi Dite stated she did not know. The boat has been in the yard for over
18 months and no work has been done on it. They used us for our money and now tell
Plantiffs Eric and Sarah Watson to have the boat removed from their yard as no work will

be done on the boat. August 30, 2021, Plaintiffs Eric Watson and Sarah Watson brought
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a friend with them to show what was going on. Plaintiffs brought a utility trailer to
unload the boat and remove all valuable things in case. Mike Roff stated nothing will be
be removed from the boat that is not of its original Of the boat. Plaintiffs asked why. Mike
Roff stated, the boats value would be less and I am trying to get the most out of the boat
at the auction. Plaintiff stated this was theft and were told that Plaintiff Eric Watson and
his friend could view the boat and take papers and clothing and that was it and leave and
the boat is being evicted and have the boat removed in 30 days or it will be sold at an
Auction. Plaintiffs left the area and placed a lien on the boat for $250,000.00 lien on the
Boat to protect their investment. Plaintiffs Eric and Sarah Watson protested at a local
view point along the highway, posting signs on their Limousine, stating, MIKE ROFF
THEIF, KJ ROFF THEIF, REFUSE WORK ON THE BOAT, HAIL MARY, and 1962

Chris Craft Constellation.

Conclusion

Plaintiffs took there yacht to have it repaired. The excuse from October to present were
many lies and excuses. Mike Roff finally stated, on August 30, 2021 no work will be

on Plaintiff’s boat and Plaintiffs had 30 days to remove it from their property or it will be
sold. All of this amounts to hatred towards the Plaintiff's and the Defendants take the law
into their own hands by refusing a service to repair the boat as it was brought there for.
Theft exists here as the Defendants took the Plaintiffs money for rent. Then if they don’t
remove the boat the Owners would Auction off the boat. Refusing to allow Plaintiffs to
remove items of value off the boat is also theft of property. Extortion is Defendant Mike
Roff demanding $10,000.00, and calling it a deposit. Bad Faith exists here by agreeing

for a customer to bring in their boat that is not sea worthy. To allow for no deposit or
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Insurance. When the boat arrives the Defendants in BAD FAITH refuse to do any work
on the boat. In BAD FAITH demand the Plaintiffs to remove the boat or they would be
taken to court and start the eviction process. In Fear the Plaintiffs contacted Associated
Boat Transport to find out the cost to transport the boat. Associated Boat Transport
stated the cost would be over $8000.00. Again, this cost would increase repair costs and
Plaintiffs finally decided, Plaintiffs Eric and Sarah Watson have done nothing wrong and
in GOOD FAITH come to this court to resolve this disagreement. Owners of Latitude
Marine Services have lied to us, and acted in BAD FAITH. The Defendants have hired an
Attorney to lie to us and steer us in the wrong direction and refuse to bring this issue to
the Court. SO, Plaintiff's Eric Watson and Sarah Watson in GOOD FAITH bring this to
Court and allow the Jury to decide. Plaintiffs ask for an expedited Jury Trial as Plaintiffs
are in fear their boat will be damaged even worse due to the heavy rains and freezes
causing more damage to their investment. Plaintiffs requested the Defendants Insurance
Company information and are refused by both Defendants and their Lawyer. Plaintiffs
believe the Defendants are acting the same way as the case with the homosexuals
ordering cakes and flowers for a wedding and refused services. In this case the
Defendants refusing to give a factual reason, other than, no work will be done on

Plaintiffs boat and to remove the boat or it would be Auctioned off.

V. RELIEF
We pray the Court Orders the Defendant to pay $1,450,000.00 for this issue and they can

keep the boat. Or they can fully restore the boat to its original condition before any
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damage took place on the boat. We further demand they refurbish the plumbing to its
fully operational capacity. All windows and windshield wipers will be rehabilitated as
well as the bright woods be cleaned up. The boat paint will have red oxide from the water
line down and white from the water line up. All batteries will be charged and checked for
damage or dead and be replaced. All electrical and running gear checked and repaired so
the rudders will-be fully operational. These were the goals I brought this boat in to have

done.

VI. CERTIFICATION AND CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, We the Plaintiffs
certify to the best of our knowledge, information, and belief that this complaint: (1) is not
being presented for an improper purpose, such as to harass, cause unnecessary delay, or
needlessly increase the cost of litigation; (2) is supported by existing law or by

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the

factual contentions have evidentiary support or, if specifically so identified, will likely
have evidentiary support after reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11

I agree to provide the Clerk’s Office with any changes to my address where case-
Related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of the case.
Done on this 2.¢ day of MNovembér—_, 2021 in the County of Pierce, the City of

Graham in the State of Washington.
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Eric Watson Printed

Sotinh. Water — Serah Wa tSo+

Sarah Watson Printed
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OF ThE RETURN ALORESS FOLO AT DOTTED Lite

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